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12
13                          UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
15   T.P., by and through S.P., as next         CASE 2:15-cv-05346-CJC-E
     friend, parent, and natural guardian; et
16   al.,                                       DISNEY’S MEMORANDUM IN
                                                SUPPORT OF ITS MOTION
17                       Plaintiffs,            FOR SUMMARY JUDGMENT
                                                ON K.A.C.’S AND J.L.C.’S
18           v.                                 CLAIMS
19                                              Date: November 9, 2020
     WALT DISNEY PARKS AND                      Time: 1:30 p.m.
20   RESORTS U.S., INC.,                        Judge: Hon. Cormac J. Carney
                                                Courtroom: 9B
21                       Defendant.
22
23
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28
     Mem. ISO Disney’s Mot. for Summ. J. on                       (No. 2:15-cv-05346-CJC-E)
     K.A.C.’s and J.L.C.’s Claims
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                                                                 1                                PRELIMINARY STATEMENT
                                                                 2          Plaintiffs assert a variety of claims premised on allegedly not receiving the
                                                                 3   equal access to a public accommodation for persons with disabilities to which they
                                                                 4   are entitled -- but plaintiffs were never excluded from or denied access to anything
                                                                 5   during their visits to the Walt Disney World Resort (“WDW”) in Orlando, Florida.
                                                                 6   In fact, under Disney’s Disability Access Service (“DAS”), which allows guests
                                                                 7   with autism and other cognitive disabilities to hold a place in line for rides without
                                                                 8   standing in the actual line -- thereby giving them time to go to other attractions
                                                                 9   while waiting virtually -- plaintiff K.A.C. and his mother, J.L.C., experienced all
                                                                10   the same or even more rides and attractions than the majority of other guests at
                                                                11   Disney’s parks and with much less wait time. Thus, as the late Judge Manuel Real
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                                                                12   previously concluded in four separate decisions, DAS provided equal access to
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                                                                13   plaintiffs, as it does for all patrons with cognitive disabilities.
                                                       IRVINE




                                                                14          Even though their claims are couched in the language of equal access under
                                                                15   the Americans with Disabilities Act (“ADA”) and California’s Unruh Civil Rights
                                                                16   Act (“Unruh Act”), it is clear that what plaintiffs really want is for Disney to
                                                                17   accommodate K.A.C.’s personal preference for instant and unlimited repeat access
                                                                18   to the rides of his choice -- regardless of how popular the rides are or how long
                                                                19   other guests (including persons with disabilities) have to wait in line for those rides.
                                                                20   The ADA and Unruh Act require no such thing, either to favor a particular person or
                                                                21   to disadvantage other patrons. Because plaintiffs’ claims are all rooted in allegedly
                                                                22   unfulfilled personal preferences, they fail as a matter of law.
                                                                23          In fact, the Unruh Act does not even apply to the plaintiffs here because the
                                                                24   alleged events involving their claim of discrimination all occurred at WDW in
                                                                25   Florida and not “within the jurisdiction of [California],” as required by the statute.
                                                                26   However, even if the Unruh Act did apply to K.A.C. (which it does not), there is no
                                                                27   evidence that he was prevented from accessing the rides at WDW or that the relief
                                                                28   sought is “reasonable” and “necessary” to afford him access -- the required
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims                                         (No. 2:15-cv-05346-CJC-E)
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                                                                 1   elements of a claim under the reasonable modification provision of Title III of the
                                                                 2   ADA and, in turn, the Unruh Act. To the contrary, since DAS was implemented on
                                                                 3   October 9, 2013, K.A.C. and J.L.C. have spent 10 days at WDW on three different
                                                                 4   visits, during which they experienced numerous rides and attractions. As K.A.C.’s
                                                                 5   parents have admitted, K.A.C. was able to ride all the attractions he wanted to go
                                                                 6   on -- including at least 8 rides at Magic Kingdom -- using DAS,
                                                                 7               and the regular standby lines. His mother, J.L.C., conceded that one trip
                                                                 8   was a “relatively satisfying experience” and that during their most recent visit to
                                                                 9   WDW, K.A.C. “did fairly well.” Despite these favorable experiences, plaintiffs
                                                                10   filed this lawsuit alleging they were denied access to the very rides they
                                                                11   experienced.
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                                                                12             What plaintiffs are actually seeking to achieve is not “access” -- which they
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                                                                13   already had -- but fulfillment of their subjective desire to experience all their
                                                       IRVINE




                                                                14   favorite rides, without having to wait anywhere at any time. This desire is not
                                                                15   based on a medical need or inherent attribute of autism, as plaintiffs assert. Indeed,
                                                                16   it is undisputed that K.A.C. is capable of waiting long enough to access rides and
                                                                17   attractions at WDW with or without DAS.1 Courts have consistently ruled that a
                                                                18   plaintiff is not entitled to the precise accommodation of his choice. In fact, in
                                                                19   November 2019, Judge André Birotte Jr. granted summary judgment in Disney’s
                                                                20   favor, dismissing the same type of claims asserted here, and in doing so recognized
                                                                21   that under the ADA, Disney is “not required to make the preferred accommodation
                                                                22   of plaintiffs’ choice.”2
                                                                23             A recent decision by the Middle District of Florida is highly instructive of the
                                                                24   1
                                                                       K.A.C. is capable of waiting up to 15 minutes in line and for at least 6 hours to
                                                                25   reach a destination, as he did during each of the family’s drives from their home in
                                                                     Mesquite, Texas to Lafayette, Louisiana. Disney’s Statement of Uncontroverted
                                                                26   Facts (“DSUF”) ¶ 17.
                                                                     2
                                                                27     Ex.1-R, Galvan, et al. v. Walt Disney Parks and Resorts U.S., Inc., No. 8:18-cv-
                                                                     01721-AB-FFM (C.D. Cal. Nov. 27, 2019), Doc. 86, Order Granting Disney’s
                                                                28   Motion for Summary Judgment at 13 (internal citations omitted).
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                                                                 1   issues now before this Court. The court in that case had previously granted
                                                                 2   summary judgment in favor of Disney in a DAS case prosecuted by the same
                                                                 3   counsel who brought this case. That decision, and 29 related cases, were remanded
                                                                 4   by the Eleventh Circuit to resolve what the appellate court held were disputed facts
                                                                 5   regarding several alleged behavioral characteristics of severe autism. A.L. v. Walt
                                                                 6   Disney Parks & Resorts U.S., Inc., 900 F.3d 1270, 1297-98 (11th Cir. 2018). A
                                                                 7   bench trial was held in the first of those cases in February 2020, and on June 22,
                                                                 8   2020, Judge Anne C. Conway issued a 51-page opinion which showed there was no
                                                                 9   genuine dispute of fact in the first place and that the requested relief was neither
                                                                10   necessary nor reasonable, and would result in a fundamental alteration of Disney’s
                                                                11   theme park operations. A.L. v. Walt Disney Parks and Resorts U.S., Inc., 2020 WL
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                                                                12   3415008, at *25 (M.D. Fla. June 22, 2020), appeal docketed, No. 20-12720 (11th
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                                                                13   Cir. July 22, 2020).
                                                       IRVINE




                                                                14          The decision in A.L. is the most comprehensive examination on the merits of
                                                                15   autism in the context of theme park experiences that has ever been written. Much
                                                                16   of the evidence presented at trial by Disney was undisputed, and the findings
                                                                17   reaffirmed the dozens of summary judgment rulings entered against plaintiffs by
                                                                18   Judge Real, Judge Birotte, and Judge Conway. Of particular significance here, the
                                                                19   evidence presented through live fact and expert witnesses during the trial in A.L. is
                                                                20   in many respects the same evidence offered in support of the instant motion for
                                                                21   summary judgment (through reports, declarations and deposition testimony).
                                                                22   Although the facts related to each plaintiff’s disabilities and park experiences differ
                                                                23   to some degree, the detailed analysis of the claims in A.L., together with the facts
                                                                24   which discovery in the instant case has revealed, leave no doubt that K.A.C. was
                                                                25   not discriminated against when he visited Disneyland. Because K.A.C. cannot
                                                                26   prove that the relief he requests is either necessary or reasonable, and because
                                                                27   Disney can prove that it would result in a fundamental alteration of its business,
                                                                28   Disney is entitled to summary judgment in its favor.
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims              -3-                     (No. 2:15-cv-05346-CJC-E)
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                                                                 1                                     FACTUAL BACKGROUND
                                                                 2             A.       The Guest Experience at Walt Disney World
                                                                 3             To experience attractions at the Walt Disney World Resort, guests generally
                                                                 4   stand in a line, called the standby line, and wait until they move to the front of the
                                                                 5   line to enter the attraction. Ex. 2-I, WDW Guide at 34. The majority of attractions
                                                                 6   also have a separate line -- the so-called “FastPass” line -- which typically has a
                                                                 7   very short wait. Id. This line is available to guests who take advantage of the
                                                                 8   FastPass system, essentially saving their place in line so they do not have to stand
                                                                 9   in an actual line. Ex. 1-J, Laval Decl. ¶¶ 10-11; Ex. 1-D, Hale Dep. (A.L.) at 57:18-
                                                                10   25. At the return time, guests can enter the FastPass line.
                                                                11
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                                                                12
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                                                                13             B.       The GAC System Led to Widespread Fraud and Abuse
                                                       IRVINE




                                                                14             Until October 9, 2013, the former GAC system generally provided guests
                                                                15   with disabilities and their families unlimited, repeated and on-demand access to
                                                                16   rides and attractions through alternative “backdoor” entrances or FastPass lines
                                                                17   without requiring them to wait in the regular attraction lines. Ex. 1-B, Armor Dep.
                                                                18   (A.L.) at 30:10-13, 46:13-17. Because Disney is not allowed to ask about a guest’s
                                                                19   disability -- thus making it difficult for the employees to effectively filter guests
                                                                20   into the various tiers or to deny them GAC cards altogether -- GAC became an
                                                                21   unlimited front-of-the-line pass for anyone asserting a need for it, which resulted in
                                                                22   widespread abuse. Id. at 46:13-15, 46:23-47:5, 55:17-22, 56:9-11; DSUF ¶ 13.
                                                                23             The most common abuse consisted of guests’ fabrication of their need for a
                                                                24   pass at all. See DSUF ¶ 31.3 More egregiously, some guests created counterfeit
                                                                25   GACs, posted Craigslist ads offering the use of GACs -- at the cost of thousands of
                                                                26   dollars -- for unauthorized “tours” of the parks, and used the internet to sell
                                                                27   3
                                                                       This exaggeration or fabrication of need for GAC reached a point where a ride
                                                                28   sometimes had more guests in the GAC line than in the standby line. DSUF ¶ 31
                                                                         Mem. ISO Disney’s Mot. for Summ. J. on
                                                                         K.A.C.’s and J.L.C.’s Claims             -4-                    (No. 2:15-cv-05346-CJC-E)
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                                                                 1   various autism organizations and considered their suggestions. Id. This extensive
                                                                 2   work led to replacing GAC with the DAS system on October 9, 2013. Id. As with
                                                                 3   FastPass, DAS cardholders may wait for their entry virtually instead of physically
                                                                 4   standing in line. Id. ¶ 2. Unlike FastPass, however, DAS return times never run out
                                                                 5   for the day and can always be requested. Ex. 1-J, Laval Decl. ¶ 19. DAS return
                                                                 6   times, which are the posted ride wait times minus ten minutes, are issued at kiosks
                                                                 7   and attractions located inside WDW, although the first one may be issued when the
                                                                 8   DAS card is received. DSUF ¶ 2; Ex. 1-J, Laval Decl. ¶¶ 18-19. Once the return
                                                                 9   time arrives and the DAS return time is redeemed, a guest may then obtain another
                                                                10   return time for the same attraction or for any other attraction. Ex. 2-C, DAS Guides
                                                                11   at 1. While DAS guests wait virtually for the return time (after which they can
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                                                                12   enter the shorter FastPass line), they can avail themselves of the many other
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                                                                13   attractions throughout the park -- other rides, shows, attractions, concerts,
                                                       IRVINE




                                                                14   characters, restaurants, and stores. DSUF ¶ 2.
                                                                15             Another benefit of DAS is that it provides near-immediate access to rides
                                                                16   with short wait times. Id. ¶ 3. If the wait time posted at the attraction is 15 minutes
                                                                17   or less, DAS cardholders are typically given access right away. Id. Thus they can
                                                                18   use DAS to go on rides with shorter wait times while they wait virtually for the
                                                                19   return time on a ride with a longer wait time. Combined with the FastPass system,
                                                                20   this gives DAS guests the opportunity to experience a high number of attractions in
                                                                21   a single day -- far more than most guests could without DAS. Id. ¶ 32; Ex. 1-D,
                                                                22   Hale Dep. (A.L.) at 78:3-79:12.6
                                                                23
                                                                     6
                                                                       In addition to DAS, other services are available to assist guests with disabilities,
                                                                24   such as itinerary planning and quiet areas. See Ex. 2-I, WDW Guide at 2-4; Ex. 1-
                                                                25   A, Sweetman Dep. (May 8, 2017) at 72:2-10. Sometimes DAS guests and each
                                                                     member of their party also may receive re-admission passes, or “re-ads,” which
                                                                26   allow them to immediately enter the shorter FastPass line at any attraction at any
                                                                     time without having to wait virtually for a return time to enter the line. DSUF ¶ 3.
                                                                27   Around the same time DAS was implemented, Disney developed, in collaboration
                                                                28   with Autism Speaks, a trip-planning guide for WDW for guests with disabilities,
                                                                     including autism. Ex. 2-I, WDW Guide; Ex. 1-D, Hale Dep. (A.L.) at 33:11-21.
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                                                                         K.A.C.’s and J.L.C.’s Claims             -6-                   (No. 2:15-cv-05346-CJC-E)
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                                                                 1
                                                                 2                                       DSUF ¶ 4.
                                                                 3                                             ARGUMENT
                                                                 4   I.     PLAINTIFFS’ UNRUH ACT CLAIM SHOULD BE DISMISSED
                                                                 5          BECAUSE THE ALLEGED INCIDENTS ALL OCCURRED
                                                                 6          OUTSIDE OF CALIFORNIA
                                                                 7          Plaintiffs claim that Disney violated the Unruh Act because they were denied
                                                                 8   access to WDW in Orlando, Florida. Doc. 1, Compl. However, the Unruh Act
                                                                 9   only covers claims of discrimination that occur inside California’s borders. See,
                                                                10   e.g., Cal. Civ. Code § 51(b) (applying to all persons within the jurisdiction of
                                                                11   [California]”); Warner v. Tinder Inc., 105 F. Supp. 3d 1083, 1099 (C.D. Cal. 2015)
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                                                                12   (“[B]y its own terms, [the Unruh Act] is expressly limited to discrimination that
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                                                                13   takes place within California’s borders.”); Loving v. Princess Cruise Lines, Ltd.,
                                                       IRVINE




                                                                14   2009 WL 7236419, at *8 (C.D. Cal. 2009) (“It is well settled that the Unruh Act
                                                                15   applies only within California.”) (citing cases). Because plaintiffs admit that all of
                                                                16   the alleged incidents relating to K.A.C.’s Unruh Act claim occurred exclusively in
                                                                17   Florida and none of them took place in California ( DSUF ¶ 5), that claim should be
                                                                18   dismissed as a matter of law.
                                                                19   II.    ALL OF PLAINTIFFS’ CLAIMS MUST FAIL BECAUSE THEY
                                                                20          CANNOT ESTABLISH AN ADA OR UNRUH ACT VIOLATION
                                                                21          As plaintiffs have acknowledged, all of their claims “are predicated upon
                                                                22   proving a violation of” Title III of the ADA. Doc. 224, Order Summ. J. (P.F.E.) at
                                                                23   2; Doc. 225, Order Summ. J. (E.A.P.) at 2; Doc. 355, Order Summ. J. (Bellwether
                                                                24   III) at 5; Doc. 1, Compl. ¶ 8. California state courts have interpreted and applied
                                                                25   the Unruh Act in accordance with the burdens of proof and defenses available under
                                                                26
                                                                27   This guide provides strategies for parents to use when visiting WDW, including
                                                                     planning ahead, utilizing a visual schedule, and bringing along a device or activity
                                                                28   to use as a distraction if necessary. Ex. 2-I, WDW Guide at 2, 6.
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims                   -7-               (No. 2:15-cv-05346-CJC-E)
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                                                                 1   the ADA. See, e.g., Baughman v. Walt Disney World Co., 159 Cal. Rptr. 3d 825,
                                                                 2   830-31 (Ct. App. 2013) (holding that “Baughman’s evidence does not show Disney
                                                                 3   failed to make reasonable modifications in its policies, practice, or procedures, or
                                                                 4   that the modification she requested was necessary to afford goods, services,
                                                                 5   privileges, advantages, or accommodations to individuals with disabilities”);
                                                                 6   Hankins v. El Torito Rests., Inc., 74 Cal. Rptr. 2d 684, 693 (Ct. App. 1998);
                                                                 7   (recognizing that California imposes “at least the same requirements as are imposed
                                                                 8   by the Americans with Disabilities Act”); Munson v. Del Taco, Inc., 208 P.3d 623,
                                                                 9   630 (Cal. 2009). Because the undisputed facts show that Disney did not violate the
                                                                10   ADA, K.A.C.’s Unruh Act claim necessarily fails and none of their claims can be
                                                                11   sustained. See Doc. 224 at 5; Doc. 225 at 5; Doc. 355 at 4.
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                                                                12          A.       Plaintiffs Cannot Satisfy Title III’s “Necessary” Requirement
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                                                                13          To establish a violation of Title III of the ADA, plaintiffs must show that a
                                                       IRVINE




                                                                14   reasonable modification of Disney’s policy is necessary to afford access to its
                                                                15   parks, unless doing so would fundamentally alter the nature of the goods, services,
                                                                16   facilities, privileges, advantages, or accommodations offered at WDW. 42 U.S.C. §
                                                                17   12182(b)(2)(A)(ii); PGA Tour, Inc. v. Martin, 532 U.S. 661, 688 (2001). In order to
                                                                18   show that changing DAS is “necessary,” plaintiffs must prove that it is “beyond
                                                                19   [K.A.C.’s] capacity” to access the rides at WDW with the DAS system in place.
                                                                20   Martin, 532 U.S. at 682; Doc. 224 at 4; Doc. 225 at 5. They cannot do so.
                                                                21          Contrary to Supreme Court precedent, in August 2018, the U.S. Court of
                                                                22   Appeals for the Eleventh Circuit reversed 30 Middle District of Florida summary
                                                                23   judgment decisions involving Disney’s alleged failure to accommodate certain
                                                                24   guests’ cognitive disabilities, and remanded the cases to the district court to
                                                                25   consider two disputed characteristics of autism, as applied to each plaintiff’s case.
                                                                26   See A.L., 900 F.3d at 1297. After a three-day bench trial in A.L., Judge Conway
                                                                27   held that A.L.’s “proposed modification of ten readmission passes or unlimited
                                                                28   access to the FastPass lines is not necessary to accommodate A.L.’s preference to
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
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                                                                 1   follow a route or a pre-set list of rides,” and that “[c]ompared to nondisabled guests,
                                                                 2   A.L. with the DAS card can access the same rides in less time and without
                                                                 3   physically standing in line.” A.L., 2020 WL 3415008, at *21.
                                                                 4             Under Martin and controlling Ninth Circuit precedent,7 and consistent with
                                                                 5   the Middle District of Florida’s recent decision in A.L., plaintiffs cannot prove that
                                                                 6   it is “beyond [K.A.C.’s] capacity” to access the rides at WDW with the DAS
                                                                 7   system in place. Martin, 532 U.S. at 682. As Judge Real previously concluded in
                                                                 8   granting Disney’s motions for summary judgment as to the claims of the Bellwether
                                                                 9   II and III plaintiffs, K.A.C. and J.L.C.’s requested modification -- a requirement
                                                                10   that Disney provide instant and unrestricted access to the rides of their choice -- is
                                                                11   not “necessary” to afford them access to Disney’s parks under Title III or the Unruh
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                                                                12   Act “[u]nder well-settled legal precedent in this Circuit.” See Doc. 126; Doc. 224
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                                                                13   at 4-5 (citing Martin, 532 U.S. at 682); Doc. 225 at 4-5 (same); Doc. 355 at 5-6.
                                                       IRVINE




                                                                14   Here, K.A.C.’s maladaptive behaviors are not caused by DAS, occur multiple times
                                                                15   every day and in all environments, and would not be prevented by any order of this
                                                                16   Court. DSUF ¶¶ 22, 30. Moreover, K.A.C. does not have a routine at the parks and
                                                                17   is able to wait for at least 15 minutes. DSUF ¶¶ 15-16. The undisputed facts show
                                                                18   that access to Disney’s rides is not beyond K.A.C.’s capacity such that the
                                                                19   requested modification of DAS could be “necessary” under Martin.
                                                                20                      1.    Modifying DAS Is Not Necessary for K.A.C. to Access WDW
                                                                21                              a.    K.A.C. Can Wait in Line and Defer Gratification
                                                                22             During each of K.A.C.’s three multi-day trips to WDW under DAS (i.e.,
                                                                23   March 2014, November 2014 and March 2016), he was able to experience all of the
                                                                24   rides and attractions he wanted to experience -- including some of the most popular
                                                                25   rides and at least 8 attractions at Magic Kingdom. DSUF ¶¶ 8, 11-12, 14. K.A.C.’s
                                                                26
                                                                     7
                                                                27     See, e.g., Coleman v. Phoenix Art Museum, 2009 WL 1097540, at *3 (D. Ariz.
                                                                     Apr. 22, 2009), aff’d, 372 F. App’x 793 (9th Cir. 2010); Murphy v. Bridger Bowl,
                                                                28   150 F. App’x 661, 663 (9th Cir. 2005).
                                                                         Mem. ISO Disney’s Mot. for Summ. J. on
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                                                                 1   mother admitted that their November 2014 visit was a “relatively satisfying
                                                                 2   experience” and that K.A.C. “did fairly well” during their May 2016 visit. Id. ¶¶
                                                                 3   11, 13. Out of his 10 days in the parks under DAS, K.A.C. had one meltdown
                                                                 4   while he was standing in the regular line (not using DAS), but his mother
                                                                 5   acknowledged that she did not know what caused the meltdown and admitted that it
                                                                 6   could have been because he was tired or wanted to sit in his wheelchair. Id. ¶ 9.8
                                                                 7   J.L.C. also admitted that K.A.C. continued to wait in that line and ultimately
                                                                 8   experienced the attraction (which he enjoyed), and proceeded to go on other rides
                                                                 9   afterwards. Id. In addition, K.A.C. waited in standby lines for up to 15 minutes on
                                                                10   three to four rides during their first visit under DAS. Id. ¶ 18. And based on the
                                                                11   parents’ testimony, K.A.C. had significantly fewer meltdowns at WDW (merely
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                                                                12   identifying three over the course of 10 days), as compared to a typical school day,
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                                                                13   where his average rate of aggressions was 32.38 per day. Id. ¶ 22.
                                                       IRVINE




                                                                14             Like in Bellwether II and III, it is clear that plaintiffs’ request for
                                                                15   unrestricted, “immediate access to the rides at its parks” is not necessary or required
                                                                16   by the ADA because an alternative accommodation -- the DAS system -- provides
                                                                17   K.A.C. access to WDW. Doc. 224 at 5; Doc. 225 at 5; Doc. 355 at 5; A.L., 2020
                                                                18   WL 3415008, at *21. Specifically, it is undisputed that under DAS, plaintiff
                                                                19   K.A.C., instead of having to wait in the standard line at popular rides, can
                                                                20   experience other rides and attractions during a “virtual wait,” such as watching a
                                                                21   parade, meeting Disney characters, shopping, eating meals, and going on rides with
                                                                22   shorter wait times, before returning to enter the premium ride. DSUF ¶ 2. In the
                                                                23   complaint, plaintiffs alleged that “K.A.C. is a ‘repeat rider’” and “will experience a
                                                                24   particular ride or attraction . . . over and over, for several hours at a time.” Doc. 1,
                                                                25
                                                                     8
                                                                       K.A.C. also had a meltdown while watching the American Idol Experience but
                                                                26   this had nothing to do with DAS. Id. That same day, he tried to run away from his
                                                                27   family while they were speaking with a Disney Cast Member about entering an
                                                                     attraction, but a manager accommodated them by ensuring that they experienced
                                                                28   the attraction, even though they did not have a DAS return time for it. Id.
                                                                         Mem. ISO Disney’s Mot. for Summ. J. on
                                                                         K.A.C.’s and J.L.C.’s Claims               -10-                      (No. 2:15-cv-05346-CJC-E)
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                                                                 1   Compl. ¶ 799. However, during her deposition, J.L.C. admitted that this allegation
                                                                 2   is inaccurate because K.A.C. is not a repeat rider, does not go on certain rides over
                                                                 3   and over again, and does not need to experience rides in any specific order. DSUF
                                                                 4   ¶ 15. Based on this admission, it is clear that K.A.C. does not have to follow a
                                                                 5   particular order of rides to experience the parks.
                                                                 6          There is no evidence that K.A.C. is incapable of waiting or that he could not
                                                                 7   have accessed WDW under DAS. To the contrary, plaintiffs utilize their own form
                                                                 8   of a “virtual wait” system at the airport while waiting to board a flight where
                                                                 9   K.A.C. and his father will walk around the terminal, get a snack, and go to the
                                                                10   bathroom until it is the family’s turn to board. DSUF ¶ 17. Moreover, over the
                                                                11   course of his three visits and 10 days at WDW since DAS was implemented,
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                                                                12   K.A.C. went on all the rides he wanted to go on, and they spent the same amount of
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                                                                13   (if not more) time in the parks under DAS as they had done before the
                                                       IRVINE




                                                                14   accommodation program was changed. Id. ¶¶ 6, 11-12, 14.
                                                                15          It is also undisputed that K.A.C. has an ability to wait for at least 15 minutes
                                                                16   in a line for a ride and in other environments (such as church or a doctor’s office)
                                                                17   for more than an hour without any problems. Id. ¶ 16. On one occasion, K.A.C.
                                                                18   waited in an emergency room for over 6 hours to have his forehead laceration
                                                                19   treated and the medical records for that ER visit described K.A.C. as “active and
                                                                20   playful in room and easily directed by parents . . . .” Id. There is also no dispute
                                                                21   that K.A.C. has an ability to defer gratification for long periods of time, as shown
                                                                22   by the fact that he tolerates long drives on family vacations, including six-hour road
                                                                23   trips from their home in Mesquite, Texas to Louisiana, and went on multiple cruises
                                                                24   including an Alaskan cruise that departed from Seattle, Washington. Id. ¶ 17. The
                                                                25   gratification from these trips -- reaching the desired destination -- was anything but
                                                                26   instant. Furthermore, it is the uncontroverted opinion of Disney’s expert, Dr. Jill
                                                                27   Kelderman, that K.A.C. is not incapable of waiting and that the need for immediate
                                                                28   gratification is not a requirement of K.A.C.’s disabilities. Ex. 1-F, Kelderman Decl.
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                                                                 1   ¶¶ 48, 64-66, 84; see A.L., 2020 WL 3415008, at *20 (“[T]he inability to wait or
                                                                 2   defer gratification is not in the diagnostic criteria for autism and individuals with
                                                                 3   autism are capable of deferring gratification, based on research studies finding that
                                                                 4   children with autism can defer gratification.”).
                                                                 5                           b.     K.A.C. Has More Than Equal Access at Disney
                                                                 6          K.A.C. is capable of waiting for at least 15 minutes, and therefore he can
                                                                 7   wait (and has waited) long enough to go on numerous rides and attractions at
                                                                 8   WDW. Indeed, the wait time reports for the 10 days K.A.C. visited WDW, show
                                                                 9   that on average
                                                                10
                                                                11
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                                                                12                                DSUF ¶ 24. And on March 12, 2014, all of K.A.C.’s favorite
                                  ATTO RNEY S AT LAW




                                                                13   rides at Magic Kingdom had                                                  Id. ¶ 9. Any
                                                       IRVINE




                                                                14   rides with longer wait times could have been accessed with a DAS return time.
                                                                15          According to his father, F.C., K.A.C. was able to go on “just about
                                                                16   everything” during their 2014 and 2016 visits to WDW, including “[q]uite a few
                                                                17   rides. As many as [they] could fit in” at Magic Kingdom, as well as all of the rides
                                                                18   K.A.C. wanted to go on at Epcot and Animal Kingdom. Id. ¶ 14. K.A.C.’s
                                                                19   experience at WDW is consistent with other evidence showing that guests with
                                                                20   DAS can experience significantly more rides in a day than guests without DAS, id.
                                                                21   ¶ 35, including a study Disney conducted in which testers familiar with the parks
                                                                22   used the ride passes available to them (i.e., DAS, FastPasses, or re-ads) to
                                                                23   experience as many attractions as possible during three days. Ex. 1-J, Laval Decl.
                                                                24   ¶¶ 29-31.
                                                                25
                                                                26
                                                                27
                                                                28                                                           Id. ¶ 31. In other words, DAS
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims                  -12-                  (No. 2:15-cv-05346-CJC-E)
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                                                                 1   guests can experience significantly more attractions and spend much less time
                                                                 2   waiting in queues than non-DAS guests. Id. ¶ 41.
                                                                 3             As Disney’s industrial engineering expert Bruce Laval concluded, “DAS not
                                                                 4   only reasonably accommodates and provides equal access to guests with
                                                                 5   disabilities, for whom it may be difficult to wait in a traditional queue,” but it
                                                                 6   provides more than equal access to such guests overall “because they can
                                                                 7   experience the most popular attractions faster and, if they desire, in greater number
                                                                 8   than what                    of guests at [WDW] can do without DAS.” Ex. 1-J, Laval
                                                                 9   Decl. ¶ 52. This is consistent with court decisions applying a “like experience”
                                                                10   standard, which have concluded that Disney has provided disabled guests an
                                                                11   opportunity to have an experience comparable to (if not better than) non-disabled
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                                                                12   guests.9 A reasonable juror could not find that the requested accommodation is
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                                                                13   necessary to afford K.A.C. access to WDW.10 He already has access.
                                                       IRVINE




                                                                14             B.      Plaintiffs Have Failed To Prove That Immediate and Unrestricted
                                                                15                      Access to Rides and Attractions Is Reasonable
                                                                16             To establish an ADA violation, plaintiffs must also prove that their requested
                                                                17
                                                                     9
                                                                        See, e.g., Doc. 355 at 5-6; A.L., 2020 WL 3415008, at *23 (“The Court finds that
                                                                18   Disney’s DAS card provides [plaintiff] with a ‘like,’ if not better, experience and
                                                                19   equal enjoyment than nondisabled guests experience.”); cf. Ex. 1-R, Galvan Order
                                                                     at 12 (granting summary judgment in Disney’s favor and holding that plaintiff did
                                                                20   not show that “his request for priority ride access is necessary under the ADA
                                                                     because he has access to Disneyland comparable to able-bodied persons”).
                                                                21   10
                                                                         Under well-established legal precedent, K.A.C.’s preference for GAC-type
                                                                22   access does not meet his burden to establish a violation of Title III of the ADA.
                                                                     See, e.g., Martin, 532 U.S. at 682; A.L., 2020 WL 3415008, at *21; Dobard v. S.F.
                                                                23   Bay Area Rapid Transit Dist., 1993 WL 372256, at *3-4 (N.D. Cal. Sept. 7, 1993)
                                                                24   (finding that plaintiff failed to state a claim for an ADA violation because defendant
                                                                     was not required to provide the most advanced technology to those who are
                                                                25   hearing-impaired if it allows for some means of effective communication), aff’d, 56
                                                                     F.3d 71 (9th Cir. 1995); Bird v. Lewis & Clark Coll., 303 F.3d 1015, 1021 (9th Cir.
                                                                26   2002) (affirming judgment for college in Title III case because it “offered ample
                                                                     evidence of having accommodated Bird’s disability” and “[t]he College did not
                                                                27   necessarily fail to make reasonable modifications simply because some aspects of
                                                                28   the program did not conform to Bird’s expectations”).

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                                                                 1   modification is “reasonable.” The “reasonable” requirement goes beyond whether
                                                                 2   the modification is necessary to afford access and focuses on the totality of the
                                                                 3   circumstances, including the practicality, cost, effectiveness or feasibility of the
                                                                 4   proposed modification, among other factors, in determining reasonableness. Larsen
                                                                 5   v. Carnival Corp., 242 F. Supp. 2d 1333, 1343 (S.D. Fl. 2003). Plaintiffs have the
                                                                 6   burden of proving reasonableness, and they cannot do so here.
                                                                 7          First, it is unreasonable to require Disney to return to a policy that resulted in
                                                                 8   the type of large-scale fraud and abuse that existed under GAC. See A.L., 2020 WL
                                                                 9   3415008, at *23 (finding that A.L.’s proposed modification of ten readmission
                                                                10   passes “is not a reasonable modification because it would lengthen the wait times
                                                                11   for all other riders, severely impacting the remaining non-DAS users, it would
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                                                                12   increase their wait time significantly, and potentially lead to the same fraud and
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                                                                13   overuse that existed with the GAC system, which required a complete overhaul to
                                                       IRVINE




                                                                14   the more-controllable DAS system”). The undisputed evidence shows that guests
                                                                15   fabricated or exaggerated their need to get a GAC, paid people with GACs to be
                                                                16   counterfeit tour guides to provide non-disabled guests with top tier access to WDW,
                                                                17   sold unexpired GACs on the internet, and created counterfeit GACs to bypass all
                                                                18   lines. See DSUF ¶ 31.11
                                                                19          Returning to a GAC system would be even less manageable today with the
                                                                20   opening of new high-demand rides such as the Star Wars attraction “Rise of the
                                                                21   Resistance,” which required a new queuing system at WDW in response to
                                                                22   unprecedented guest demand. A.L., 2020 WL 3415008, at *24. As Judge Conway
                                                                23   in A.L. recognized, “[t]he word spreading on social media that one disabled
                                                                24   individual received an accommodation of ten readmission passes will increase
                                                                25   demand to be treated similarly by every disabled individual once they find out, as
                                                                26
                                                                     11
                                                                27     Shortly after assuming the role of Director of Park Operations, Alison Armor
                                                                     consistently received feedback from Disney’s park operators that the GAC system
                                                                28   was being abused. DSUF ¶ 31.
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
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                                                                 1   well as those willing to misrepresent they are disabled, until the exception for a
                                                                 2   ‘reasonable’ request for readmission passes ends up swallowing the whole disability
                                                                 3   access system, once again, as it did with GAC.” Id. As Disney experienced with
                                                                 4   GAC, “when a popular new ride at Disneyland opened, it drove a 40% increase in
                                                                 5   demand for GAC passes. When 3% of the guests admitted with GAC passes use a
                                                                 6   disproportionate 30% of a popular ride’s capacity, the system is not working the
                                                                 7   way it was designed and it is certainly working to the disadvantage of the non-GAC
                                                                 8   holding guests.” Id. For the same reasons that Judge Conway found A.L.’s
                                                                 9   modification of DAS to be unreasonable, plaintiff’s requested relief will similarly
                                                                10   “displace those without DAS cards” as shown by the evidence presented here. Id.
                                                                11          Second, plaintiffs cannot prove that their requested modification is
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                                                                12   “reasonable” because DAS already provides K.A.C. access to WDW. In
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                                                                13   considering reasonableness, courts consider whether alternative accommodations
                                                       IRVINE




                                                                14   have been made available to the plaintiff. For example, in Badgett v. Alabama High
                                                                15   School Athletic Ass’n, the court explained that the ADA does not require an entity
                                                                16   “to adopt the ‘best’ modification or the modification requested by a person with a
                                                                17   disability;” it only requires a reasonable modification. 2007 WL 2461928, at *4
                                                                18   (N.D. Ala. May 3, 2007); see Dryer, 383 F. Supp. 2d at 940-41 (holding that the
                                                                19   requested modification was not reasonable because other alternatives were available
                                                                20   to plaintiff but she chose not to use them).
                                                                21          Finally, plaintiffs cannot show that their request is “reasonable” when Disney
                                                                22   has already provided an accommodation with DAS that relieves waiting in standby
                                                                23   lines -- a tremendous benefit that allows guests to experience other attractions
                                                                24   within WDW during a virtual wait and avoid completely the lines in which              of
                                                                25   all guests wait. Only an unreasonable guest would expect immediate access to all
                                                                26   of his favorite rides at one of the world’s most popular theme parks, including rides
                                                                27   that most guests may have to wait more than an hour to experience. Indeed, if
                                                                28   plaintiffs’ requested modification were reasonable, the same would necessarily be
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                                                                 1   true at any place of public accommodation -- movie theaters, restaurants, grocery
                                                                 2   stores, and malls. That is not what Congress intended when it enacted Title III.
                                                                 3          C.       Plaintiffs’ Request for GAC-Type Access Would Fundamentally
                                                                 4                   Alter the Theme Park Experience
                                                                 5          Even if the Court were to determine that plaintiffs have met their burden of
                                                                 6   proving that their requested modification is both “necessary” and “reasonable,” they
                                                                 7   would still fall short of establishing an ADA violation because the modification
                                                                 8   would impact wait times for other guests so adversely as to constitute a
                                                                 9   fundamental alteration of their ride experience. Disney has a complete defense to
                                                                10   an ADA violation if the requested modification would “fundamentally alter” the
                                                                11   nature of the services provided.12 Just two other courts in DAS cases have
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                                                                12   considered the evidence and ruled on Disney’s fundamental alteration defense, both
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                                                                13   of which unequivocally found that modifying DAS would fundamentally alter
                                                       IRVINE




                                                                14   Disney’s park operations and business model. See Ex. 1-R, Galvan Order at 9
                                                                15   (concluding that Disney’s uncontroverted evidence demonstrates that plaintiff’s
                                                                16   requested accommodation would “fundamentally alter the theme park experience at
                                                                17   Disneyland”) (internal quotations omitted); A.L., 2020 WL 3415008, at *25
                                                                18   (“[R]equiring the modification, based on the history of the former system, would
                                                                19   lead to fraud and overuse, lengthen the wait times significantly for nondisabled
                                                                20   guests, and fundamentally alter Disney’s business model.”)
                                                                21          The live testimony presented in A.L. on the fundamental alteration issue
                                                                22   encompasses the same uncontroverted evidence that is now before this Court. Like
                                                                23   in A.L., the evidence here demonstrates that plaintiffs’ requested relief -- which is
                                                                24   akin to a return to the failed GAC system --
                                                                25
                                                                     12
                                                                        The ADA does not require that an entity employ any and all means to make
                                                                26   services accessible to persons with disabilities, but rather only requires “reasonable
                                                                27   modifications” that would not “‘fundamentally alter the nature of [its] . . .
                                                                     services.’” Scott v. W. State Univ. Coll. of Law, 1997 WL 207599, at *1 (9th Cir.
                                                                28   Apr. 25, 1997) (quoting with alteration 42 U.S.C. § 12182(b)(2)(A)(ii)).
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims             -16-                     (No. 2:15-cv-05346-CJC-E)
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                                                                 1
                                                                 2
                                                                 3                                             . Moreover, Disney cannot grant plaintiffs’
                                                                 4   requested relief only to plaintiffs because it is impossible for Disney to provide an
                                                                 5   accommodation to one guest and then deny the accommodation to all others who
                                                                 6   request it. This point was underscored by Judge Conway in explaining that “[a]ny
                                                                 7   additional accommodation supplementing a DAS card . . . would have to be
                                                                 8   uniformly applied to the hundreds of disabled guests receiving a DAS card each day
                                                                 9   at all of the parks.” A.L., 2020 WL 3415008, at *24 n.37. If this Court were to
                                                                10   grant plaintiffs’ requested relief, nothing would prevent other guests from
                                                                11   requesting the same accommodation or filing a lawsuit if they did not receive it.
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                                                                12                   1.      Disney’s Experience with GAC Shows the Problems that
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                                                                13                           Would Occur If Plaintiffs’ Relief Was Granted
                                                       IRVINE




                                                                14          Plaintiffs’ request for immediate, unrestricted access to Disney’s attractions
                                                                15   is “like returning to the unlimited access to FastPass lines similar to the GAC
                                                                16   system” which would cause the same type of large-scale fraud, abuse and overuse
                                                                17   that existed under the prior GAC program. See A.L., 2020 WL 3415008, at *24. As
                                                                18   confirmed by the GAC Study (DSUF ¶ 32), this abuse caused the number of guests
                                                                19   using the FastPass lines at premium rides to increase the wait times in the standby
                                                                20   lines and produced a disparity between the number of rides a guest with a GAC
                                                                21   could experience compared with guests without one. See supra Factual
                                                                22   Background Section B, n.5.
                                                                23          The impact on wait times, as reflected in the GAC Study, “were felt most
                                                                24   strongly on the most popular or premium rides which were the most important to
                                                                25   the guests.” A.L., 2008 WL 3415008, at *7. For this reason, a GAC-like system
                                                                26   would be equally, if not more, unsustainable in today’s environment than it was
                                                                27   before Disney implemented DAS. Id. at *8. That is because most of Disney’s park
                                                                28   guests are repeat visitors, and Disney invests a tremendous amount of capital into
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims                  -17-                   (No. 2:15-cv-05346-CJC-E)
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                                                                 1   opening new rides and attractions “which is the core of Disney’s business” and one
                                                                 2   of the key components to achieving repeat attendance. Id. at *6. Given the wait
                                                                 3   times at just one new attraction, it is inconceivable how new attractions would
                                                                 4   function today under GAC, and most guests in that scenario would likely not be
                                                                 5   able to experience the new premier rides even once. Id. at *8. The A.L. court found
                                                                 6   that this “observation is consistent with the results of the April 2013 GAC Study”
                                                                 7   and was further evidence of the adverse impact of plaintiff’s requested modification
                                                                 8   on Disney’s business model. Id. The same is true here.
                                                                 9                  2.       Plaintiffs’ Requested Relief Would Impact Wait Times for
                                                                10                           the Vast Majority of Guests
                                                                11          Prior research and studies show that
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                                                                12
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                                                                13                                                             DSUF ¶ 34.
                                                       IRVINE




                                                                14
                                                                15
                                                                16
                                                                17
                                                                18                               DSUF ¶ 33.
                                                                19
                                                                20                                                                                     Id.
                                                                21
                                                                22
                                                                23          As Judge Conway found in A.L., this “incremental analysis” study showed
                                                                24   that the wait times would increase even more significantly if the percentage of DAS
                                                                25   guests increased -- a likely scenario as more guests learn about the increased
                                                                26   benefits. A.L., 2020 WL 3415008, at *13. “Thus, for example, if all DAS guests
                                                                27   were given two readmission passes for their party, a 1 % increase in daily DAS
                                                                28   users would cause the standby wait time at Seven Dwarfs Mine train to increase by
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims               -18-                 (No. 2:15-cv-05346-CJC-E)
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                                                                 1   nearly an hour, from 69 minutes to 124 minutes. Similarly, there were significant
                                                                 2   increases in wait time for the other popular rides the industrial engineering team
                                                                 3   studied.” Id.
                                                                 4
                                                                 5                                             Ex. 1-J, Laval Decl. ¶ 49.
                                                                 6                  3.       Guest Intent to Return to the Parks is Heavily Influenced By
                                                                 7                           Wait Times
                                                                 8          Disney has conducted many studies over the years which demonstrate that
                                                                 9   wait times for rides “has a direct impact on guest satisfaction and whether guests
                                                                10   intend to return” to the parks. A.L., 2020 WL 3415008, at *24; DSUF ¶ 34.
                                                                11   Consistent with the findings in A.L. and Galvan, the relief plaintiffs request would
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                                                                12   increase wait times for most guests, thus interfering with their ability to access
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                                                                13   attractions at the parks, and decreasing their trip satisfaction and intent to return.
                                                       IRVINE




                                                                14   See A.L., 2020 WL 3415008, at *24; Ex. 1-R, Galvan Order at 9 (concluding that
                                                                15   Disney’s uncontroverted evidence -- which included a company witness declaration
                                                                16   explaining that “plac[ing] significant pressure on the FastPass lines [will] have an
                                                                17   adverse impact on Park Operations” -- demonstrates that plaintiff’s requested
                                                                18   accommodation would “fundamentally alter the theme park experience at
                                                                19   Disneyland”) (internal quotations omitted).
                                                                20          There can be no greater financial impact on Disney than a significant number
                                                                21   of its guests deciding not to return to the parks because they were unable to
                                                                22   experience Disney’s most popular attractions and thus were dissatisfied with their
                                                                23   visits. Indeed, as Judge Conway concluded, “if guests’ intention to return to the
                                                                24   park decreases, future attendance decreases which decreases future revenue from
                                                                25   lost attendance, hotel stays, food purchases, associated merchandise, and
                                                                26   ‘everything else.’” A.L., 2020 WL 3415008, at *24. As a result, like A.L.,
                                                                27   plaintiffs’ requested modification to DAS -- and the increased wait times it would
                                                                28
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims               -19-                    (No. 2:15-cv-05346-CJC-E)
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                                                                 1   cause -- “relate directly to guest satisfaction and ‘fundamentally alter’ Disney’s
                                                                 2   business model by undermining its revenue base.” Id.
                                                                 3   III. SUMMARY JUDGMENT IS WARRANTED ON PLAINTIFFS’
                                                                 4          COMMON LAW CLAIMS
                                                                 5          A.      J.L.C. Cannot Establish the Elements of Her Contract Claim
                                                                 6          In order to prevail on her breach of contract claim, J.L.C. must establish that:
                                                                 7   (1) the parties entered into a contract; (2) Disney failed to do something the contract
                                                                 8   required it to do; and (3) J.L.C. suffered damages as a result of Disney’s breach.
                                                                 9   See Richman v. Hartley, 169 Cal. Rptr. 3d 475, 478 (Ct. App. 2014); Troyk v.
                                                                10   Farmers Grp., Inc., 90 Cal. Rptr. 3d 589, 628 (Ct. App. 2009) (“Implicit in the
                                                                11
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                                                                     element of damage is that the defendant’s breach caused the plaintiff’s damage.”).
                                                                12   During her deposition, J.L.C. admitted that she did not sign any contract relating to
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                                                                13
                                                       IRVINE




                                                                     their visits to WDW. DSUF ¶ 7. Because it is undisputed that there is no contract,
                                                                14   J.L.C. cannot satisfy the first element of her breach of contract claim, and therefore
                                                                15   summary judgment is warranted on this basis alone.
                                                                16          Moreover, Disney does not have an obligation to plaintiffs or the millions of
                                                                17   its other guests to provide an experience that meets their personal expectations, let
                                                                18   alone a contractual commitment, as the experience of each guest is inherently
                                                                19   highly individualized, subjective, and unpredictable. Nor can it be read into the
                                                                20   terms and conditions of the tickets that plaintiffs used to access WDW because
                                                                21   courts consistently refuse to add terms -- especially extremely subjective ones -- not
                                                                22   included in the contract.13 Even if a contractual obligation did exist (which it does
                                                                23
                                                                     13
                                                                        See, e.g., Doc. 355, Order at 6 (concluding that the Bellwether III plaintiffs
                                                                24   “have not identified a particular contractual term that has allegedly been violated,
                                                                25   and Defendant does not promise, at the time of purchase or otherwise, that all
                                                                     guests will receive their preferred, best possible, or even a satisfying experience.
                                                                26   The Court declines to read such an implied contractual term into the parties’
                                                                     business relationship.”); Ex. 1-R, Galvan Order at 14-15; Scales v. Six Flags, Inc.,
                                                                27   2004 WL 1870499, at *1, 3, 5 (Ohio Ct. App. Aug. 20, 2004) (affirming summary
                                                                28   judgment for Six Flags because “the ‘terms and conditions’ [of plaintiff’s season
                                                                     pass] represent a full and final expression of the parties’ agreement,” and the
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims             -20-                    (No. 2:15-cv-05346-CJC-E)
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                                                                 1   not), it would have to be based on the legal standard for providing accommodations
                                                                 2   under the ADA. It is undisputed that plaintiffs were provided equal access to the
                                                                 3   parks and that Disney did not violate the ADA. See supra Section II. Therefore,
                                                                 4   Disney is entitled to summary judgment on J.L.C.’s breach of contract claim.14
                                                                 5          B.      Plaintiffs Cannot Prove that Disney Negligently Inflicted
                                                                 6                   Emotional Distress Upon Them
                                                                 7          To establish a claim of negligent infliction of emotional distress (“NIED”),
                                                                 8   plaintiffs must prove: (1) Disney has a duty of care to K.A.C.; (2) Disney breached
                                                                 9   that duty; (3) Disney’s breach of the duty of care threatened physical injury to
                                                                10   K.A.C., unless Disney’s negligence was of a highly unusual type or K.A.C.’s
                                                                11   serious emotional distress was a predictable result of the breach; (4) plaintiffs
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                                                                12   suffered serious emotional distress; (5) Disney’s conduct was a substantial factor in
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                                                                13   causing plaintiffs’ serious emotional distress; and (6) plaintiffs suffered damages.
                                                       IRVINE




                                                                14   Wong v. Tai Jing, 117 Cal. Rptr. 3d 747, 768 (Ct. App. 2010). Plaintiffs claim that
                                                                15   Disney’s duty of care and breach of that duty is based on their allegation that
                                                                16   Disney violated the ADA. Because it is undisputed that DAS provided K.A.C. and
                                                                17   J.L.C. equal access to WDW and that Disney did not violate the ADA, and, in turn,
                                                                18   the Unruh Act (see supra Section II), their NIED claims fail for this reason alone.15
                                                                19   However, even if K.A.C.’s ADA and Unruh Act claims could survive -- which they
                                                                20
                                                                     amusement park “made no assurances that appellant, as a season pass holder, was
                                                                21   entitled to ‘reasonable access’ to rides; rather, as a season pass holder, appellant was
                                                                     entitled to admission into the park (subject to certain stipulated exceptions)”).
                                                                22   14
                                                                        Ex. 1-R, Galvan Order at 15 (dismissing plaintiffs’ breach of contract claim
                                                                23   “because Plaintiffs had access to the park’s attractions” and therefore “they cannot
                                                                     show that [Disney] failed to do something required by their respective contracts
                                                                24   (passes and a ticket)”).
                                                                25   15
                                                                        See Doc. 224 at 5-6 (concluding that the Bellwether II plaintiffs’ negligent
                                                                     infliction of emotional distress claim was specious and fails as a matter of law
                                                                26   because “Disney’s DAS program in fact provided P.F.E. with equal access to its
                                                                27   parks as required by the ADA and Unruh Act”); Doc. 225 at 5-6 (same); Doc. 355 at
                                                                     6; Ex. 1-R, Doc. 86, Galvan Order at 16 (concluding that “because [Disney] did not
                                                                28   violate the ADA or Unruh Act here, Plaintiff’s IIED claim necessarily fails”).
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims             -21-                     (No. 2:15-cv-05346-CJC-E)
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                                                                 1   cannot -- plaintiffs’ NIED claims still fail for several independent reasons.16
                                                                 2                  1.       Plaintiffs Did Not Suffer Serious or Severe Emotional
                                                                 3                           Distress at WDW
                                                                 4          Plaintiffs must prove more than just distress or discomfort; rather, they must
                                                                 5   prove “emotional distress of such substantial quantity or enduring quality that no
                                                                 6   reasonable man in a civilized society should be expected to endure it.” Schneider v.
                                                                 7   TRW, Inc., 938 F.2d 986, 992 (9th Cir. 1991) (emphasis added). Here, plaintiffs
                                                                 8   visited WDW three times under DAS, and during these visits, K.A.C. experienced
                                                                 9   all the rides he wanted to go on. DSUF ¶¶ 6, 11-12, 14. The fact that K.A.C. and
                                                                10   J.L.C. continue to visit WDW and that K.A.C.’s father testified “we like going to
                                                                11   Disney” (id. ¶ 14) demonstrates that they did not experience anything approaching
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                                                                12   severe emotional distress as the result of DAS.
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                                                                13          There is no evidence that K.A.C. received treatment for emotional distress
                                                       IRVINE




                                                                14   since DAS was implemented and his mother admitted that he has not seen a
                                                                15   psychologist, psychiatrist or therapist for mental health issues. DSUF ¶ 20. Of the
                                                                16   thousands of pages of medical records produced in this case, there is not a single
                                                                17   document indicating that K.A.C. has visited a physician or mental health
                                                                18   professional to be treated for emotional distress of any kind, much less received
                                                                19   treatment for something that happened to him at WDW. Id. Shortly after returning
                                                                20   from their May 2016 visit to WDW, K.A.C.’s parents told his psychiatrist, Dr.
                                                                21   Elliot, that K.A.C. “did fairly well” and “generally tolerated the park.” Id. ¶ 13.
                                                                22          K.A.C.’s maladaptive behaviors (such as aggressions) are unpredictable and
                                                                23   occur across multiple environments, every day. Id. ¶¶ 22, 30. According to his
                                                                24   father, there are times when they think one thing caused K.A.C. to suffer a
                                                                25
                                                                     16
                                                                        J.L.C.’s bystander claim also fails because K.A.C. never had a physical injury at
                                                                26   the parks, let alone in a way that required medical assistance. DSUF ¶ 10; see Akey
                                                                27   v. Placer Cty., 2015 WL 5138152, at *8 (E.D. Cal. Sept. 1, 2015) (noting that
                                                                     recovery for bystanders is not permitted where the bystander did not witness a
                                                                28   physical injury).
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims               -22-                  (No. 2:15-cv-05346-CJC-E)
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                                                                 1   meltdown when it was really something else. Id. ¶ 22. Moreover, K.A.C.’s
                                                                 2   parents’ testimony show that his behavior has actually improved since his first visit
                                                                 3   to WDW under the DAS program. Id. All of this evidence is consistent with the
                                                                 4   unrebutted opinion of Dr. Kelderman, that K.A.C. did not suffer serious, severe, or
                                                                 5   extreme emotional distress due to DAS or Disney. Ex. 1-F, Kelderman Decl. ¶ 83.
                                                                 6          Similarly, the evidence shows that J.L.C., K.A.C.’s mother, has not suffered
                                                                 7   any emotional distress, let alone any severe emotional distress caused by Disney.
                                                                 8   While J.L.C. recalls being on an antianxiety medication (that her doctor thought
                                                                 9   might help her high blood pressure) and speaking to her doctor about stress from
                                                                10   her job, she denied having any mental health problems or ever being treated for any
                                                                11   such problems. Ex. 1-H, Schouten Decl. ¶ 19. J.L.C. also has not visited a mental
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                                                                12   health provider regarding depression, anxiety, or being distressed, and she has never
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                                                                13   been diagnosed with or treated for a mental health problem. Id. ¶ 24; DSUF ¶ 21.
                                                       IRVINE




                                                                14   Based on these undisputed facts, Dr. Ronald Schouten, concluded that J.L.C. has
                                                                15   not suffered from serious, severe, or extreme emotional distress caused by Disney’s
                                                                16   conduct or the DAS system. Ex. 1-H, Schouten Decl. ¶¶ 16, 28-29.
                                                                17                  2.       Plaintiffs Provide No Medical Evidence of Causation
                                                                18          In order to establish their claim for emotional distress, plaintiffs must also
                                                                19   prove causation. McElroy v. Pac. Autism Ctr. for Educ., 2016 WL 3029782, at *5
                                                                20   (N.D. Cal. 2016). To satisfy this element, “causation must be proven within a
                                                                21   reasonable medical probability based upon competent expert testimony.” Id. at *6.
                                                                22   Plaintiffs may claim that DAS caused K.A.C. to experience one or more meltdowns
                                                                23   at Disney, which in turn caused J.L.C. to suffer severe emotional distress. But
                                                                24   plaintiffs have not offered any medical evidence on causation and offered no expert
                                                                25   opinions relating to either K.A.C.’s or J.L.C.’s physical or mental condition. DSUF
                                                                26   ¶ 29. And Disney has presented uncontroverted expert opinions, concluding that
                                                                27   none of the plaintiffs has suffered from serious, severe or extreme emotional
                                                                28   distress caused by Disney. Ex. 1-F, Kelderman Decl.; Ex. 1-H, Schouten Decl.
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims              -23-                    (No. 2:15-cv-05346-CJC-E)
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                                                                 1   Because plaintiffs cannot prove causation, Disney is entitled to summary judgment.
                                                                 2          C.       Plaintiffs Cannot Prove Their IIED Claims
                                                                 3          Plaintiffs must satisfy an even higher standard to succeed on a claim of
                                                                 4   intentional infliction of emotional distress (“IIED”). They must prove that: (1)
                                                                 5   Disney’s conduct was extreme and outrageous; (2) Disney intended to cause
                                                                 6   plaintiffs severe or extreme emotional distress or acted with reckless disregard of
                                                                 7   the probability that plaintiffs would suffer severe or extreme emotional distress,
                                                                 8   knowing that K.A.C. was present when the conduct occurred; (3) plaintiffs suffered
                                                                 9   severe or extreme emotional distress; (4) Disney’s outrageous conduct caused the
                                                                10   severe emotional distress; and (5) plaintiffs suffered damages. Nally v. Grace Cmty.
                                                                11   Church of the Valley, 763 P.2d 948, 961 (Cal. 1988). Because it is undisputed that
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                                                                12   Disney did not violate the ADA or the Unruh Act (see supra Section II), plaintiffs’
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                                                                13   IIED claims must fail.17 Moreover, as discussed in Section III.A above, plaintiffs
                                                       IRVINE




                                                                14   cannot prove that they suffered severe emotional distress, or that Disney’s DAS
                                                                15   system caused any such alleged distress. In any event, there is also no evidence that
                                                                16   Disney’s replacement of GAC with DAS was “extreme and outrageous” or that it
                                                                17   “intentionally or recklessly” inflicted emotional distress on plaintiffs by doing so.
                                                                18                  1.       Disney’s Conduct Is Not “Extreme and Outrageous”
                                                                19          To prevail on their IIED claim, plaintiffs must prove that Disney’s conduct is
                                                                20
                                                                     17
                                                                21      See e.g., Doc. 224 at 6 (concluding that the Bellwether II plaintiffs’ IIED claims
                                                                     fail and “are even more specious” because “Disney’s DAS program in fact provided
                                                                22   P.F.E. with equal access to its parks as required by the ADA and Unruh Act,” and
                                                                23   “[t]here is simply no evidence . . . that demonstrates Defendant engaged in extreme
                                                                     and outrageous conduct or intended to causes severe emotional distress to
                                                                24   Plaintiffs”); Doc. 225 at 6 (same); Doc. 355 at 7 (“Plaintiffs have presented no
                                                                     factual or legal support for a finding that such conduct is ‘outrageous.’”); see also
                                                                25   Davis v. Ma, 848 F. Supp. 2d 1105, 1116 (C.D. Cal. 2012) (granting defendants’
                                                                     motion for summary judgment because the ADA did not require defendants to
                                                                26   admit untrained puppy as a service dog, and consequently, such non-violative
                                                                27   conduct was not extreme or outrageous as required by a claim for IIED under
                                                                     California law), aff’d, 568 F. App’x 488 (9th Cir. 2014); Martin v. Cal. Dep’t of
                                                                28   Veterans Affairs, 560 F.3d 1042, 1051 (9th Cir. 2009).
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims             -24-                    (No. 2:15-cv-05346-CJC-E)
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                                                                 1   “outrageous” and “so extreme as to exceed all bounds of that usually tolerated in a
                                                                 2   civilized community.” Nally, 763 P.2d at 961. As Dr. Kelderman explained, “the
                                                                 3   accommodations under DAS mirror evidence-based strategies utilized by parents,
                                                                 4   educators, and clinicians working with people with ASD, which are based in the
                                                                 5   literature.” Ex. 1-F, Kelderman Decl. ¶ 47. This uncontroverted expert evidence
                                                                 6   demonstrates that the accommodations provided to plaintiffs -- which allowed them
                                                                 7   to experience many attractions -- are clearly not intolerable in a civilized
                                                                 8   community; rather, they are consistent with the accepted treatments for challenging
                                                                 9   behaviors associated with autism and the current research. DSUF ¶ 23. Summary
                                                                10   judgment is proper here because Disney’s provision of DAS to K.A.C. to access
                                                                11   numerous rides and attractions and avoid waiting in long lines like everyone else
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                                                                12   (DSUF ¶¶ 2-9) cannot be reasonably regarded as “extreme and outrageous” as a
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                                                                13   matter of law. Trerice v. Blue Cross, 257 Cal. Rptr. 338, 340-41 (Ct. App. 1989).
                                                       IRVINE




                                                                14                   2.      There Is No Evidence That Disney Intentionally or
                                                                15                           Recklessly Inflicted Emotional Distress Upon Plaintiffs
                                                                16          At the most fundamental level, plaintiffs allege that “Disney maliciously
                                                                17   caused injury to Plaintiffs” when that is just obviously not so. Doc. 1, Compl. ¶ 88.
                                                                18   There is absolutely no evidence that plaintiffs’ visits to WDW resulted in any
                                                                19   severe or extreme emotional distress, much less that Disney intentionally or
                                                                20   recklessly inflicted such distress upon them. J.L.C. could identify no evidence to
                                                                21   support the allegations in the complaint of Disney’s malicious intent in
                                                                22   implementing DAS. DSUF ¶ 25. In fact, J.L.C. admitted under oath that she has
                                                                23   no evidence that Disney intentionally committed any act to injure her son. See Ex.
                                                                24   1-X, J.L.C. Dep. at 287:25-288:12. Plaintiffs thus cannot satisfy the elements of
                                                                25   their IIED claims and summary judgment should be granted in Disney’s favor.
                                                                26                                             CONCLUSION
                                                                27          For all the foregoing reasons, Disney’s motion should be granted.
                                                                28
                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims                 -25-                 (No. 2:15-cv-05346-CJC-E)
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                                                                 1    Dated: October 9, 2020                   McDERMOTT WILL & EMERY LLP
                                                                 2
                                                                 3                                             By: /s/ Kerry Alan Scanlon
                                                                                                                  Kerry Alan Scanlon
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                                                                                                                  Attorney for Walt Disney Parks and
                                                                 5                                                Resorts U.S., Inc.
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                                                                 1                                CERTIFICATE OF SERVICE
                                                                 2          I certify that on October 9, 2020, I electronically filed the foregoing with the
                                                                 3   Clerk of the Court for the United States District Court, Central District of
                                                                 4   California, by using the CM/ECF system. Participants in the case who are
                                                                 5   registered CM/ECF users will be served by the CM/ECF system.
                                                                 6
                                                                 7                                                  /s/ Jeremy M. White
                                                                 8                                                  Jeremy M. White
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